97 F.3d 1448
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Benjamin A. LUCCIOLA, Petitioner-Appellant,v.COMMONWEALTH OF VIRGINIA;  Glenn Lloyde, Sheriff, AugustaCounty Jail, Respondents-Appellees.
    No. 96-6730.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 22, 1996.Decided Sept. 5, 1996.
    
      Benjamin A. Lucciola, Appellant Pro Se.  Eugene Paul Murphy, OFFICE OF THE ATTORNEY GENERAL OF VIRGINIA, Richmond, Virginia, for Appellee.
      Before HALL, WILLIAMS, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. § 2254 (1988) petition.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we deny a certificate of appealability and dismiss the appeal on the reasoning of the district court.   Lucciola v. Virginia, No. CA-95-1375 (W.D.Va. Apr. 16, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    